                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                               Case No. 08-CR-172

MILTON McCAIN
                     Defendant.


                               SENTENCING MEMORANDUM

       Defendant Milton McCain pleaded guilty to using a telephone to facilitate a felony drug

offense, contrary to 21 U.S.C. § 843(b), and I set the case for sentencing. In imposing

sentence, I first calculated the advisory sentencing guideline range, then determined the

ultimate sentence under all of the factors set forth in 18 U.S.C. § 3553(a). E.g., United States

v. Bush, 523 F.3d 727, 729 (7th Cir. 2008).

                                       I. GUIDELINES

       The parties agreed that defendant’s offense involved 14 grams of crack cocaine,

producing a base offense level of 24 under U.S.S.G. § 2D1.1(c). The parties further agreed

that defendant qualified for a 3 level reduction for acceptance of responsibility under § 3E1.1,

producing a final offense level of 21. Coupled with defendant’s criminal history category of IV,

level 21 produced an imprisonment range of 57-71 months. However, because the offense of

conviction carried a statutory maximum of 4 years, 48 months became the default guideline

range. See U.S.S.G. § 5G1.1(a).




    Case 2:08-cr-00172-LA       Filed 09/22/09    Page 1 of 8    Document 568
                                        II. SENTENCE

A.     Section 3553(a) Factors

       Section 3553(a) directs the district court to consider the following factors in imposing

sentence:

       (1)    the nature and circumstances of the offense and the history and
              characteristics of the defendant;

       (2)    the need for the sentence imposed–

              (A) to reflect the seriousness of the offense, to promote respect for the law,
              and to provide just punishment for the offense;

              (B) to afford adequate deterrence to criminal conduct;

              (C) to protect the public from further crimes of the defendant; and

              (D) to provide the defendant with needed educational or vocational training,
              medical care, or other correctional treatment in the most effective manner;

       (3)    the kinds of sentences available;

       (4)    the advisory guideline range;

       (5)    any pertinent policy statements issued by the Sentencing Commission;

       (6)    the need to avoid unwarranted sentence disparities; and

       (7)    the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a).

       The court must, after considering these factors, impose a sentence that is “sufficient but

not greater than necessary” to satisfy the purposes of sentencing – just punishment,

deterrence, protection of the public and rehabilitation of the defendant. Id. While the district

court must give respectful consideration to the guidelines in determining a sufficient sentence,

Gall v. United States, 128 S. Ct. 586, 594 (2007), it must consider the parties’ arguments and


                                               2


     Case 2:08-cr-00172-LA      Filed 09/22/09     Page 2 of 8    Document 568
determine an appropriate sentence “‘without any thumb on the scale favoring a guideline

sentence,’” United States v. Allday, 542 F.3d 571, 573 (7th Cir. 2008) (quoting United States

v. Sachsenmaier, 491 F.3d 680, 685 (7th Cir. 2007)). The court is free to impose a sentence

above or below the guideline range so long as it adequately sets forth reasons, consistent with

the § 3553(a) factors, for finding the sentence appropriate for the particular defendant. United

States v. McKinney, 543 F.3d 911, 913-14 (7th Cir. 2008) (citing United States v.

Castro-Juarez, 425 F.3d 430, 436 (7th Cir. 2005)).

B.     Analysis

       1.     The Offense

       Pursuant to its investigation of a large-scale drug trafficking conspiracy, the government

obtained a wiretap for the phone of one of the main players, pursuant to which it intercepted

about sixty-five calls involving defendant over a roughly two month period. Many of the calls

were non-pertinent, but a hand-full were drug-related, including an April 27, 2008 call during

which defendant ordered ½ ounce, or 14 grams, of cocaine base on behalf of another person.

Defendant received $50 for middling the deal.

       2.     The Defendant

       Defendant was thirty-seven years old, with a prior record consisting mainly of minor drug

offenses: possession of valium in 1993, possession of marijuana in 1994, possession of

cocaine – 2d offense in 2003, disorderly conduct in 2004, loitering in 2004, and two counts of

delivery of cocaine in 2006. A state court sentenced him to 2 ½ years in prison on the 2006

offenses, followed by 3 years extended supervision. That case involved a small amount of

crack, less than 1 gram. Defendant was released from state prison in May 2007 and was



                                               3


     Case 2:08-cr-00172-LA      Filed 09/22/09     Page 3 of 8    Document 568
arrested in this case in January 2009, leading to his revocation and a 1 year prison sentence

on each count concurrent, a sentence he was serving at the time he appeared before me.

          There were positives during defendant’s recent period in the community. A high school

graduate, he held a job at a furniture store as a floor supervisor from July 2007 to January

2009, and performed well according to the letter I received. Defendant had been in a stable

relationship and had a one year old child with his girlfriend, with whom he lived before his

arrest.

          Defendant admitted a history of substance abuse, including cocaine and marijuana,

which was confirmed both by his record and by some positive drugs tests while on state

supervision. This issue required further attention, as defendant had not previously completed

a substance abuse treatment program.

          3.     The Guidelines and Purposes of Sentencing

          The guidelines recommended 48 months in prison, but defendant made various

arguments for a lesser sentence. He first noted that the range was based on the guidelines’

disparate treatment of crack as opposed to powder cocaine. If the case had involved powder,

the base level would have been 12 rather than 24, and the range 15-21 rather than 57-71

months (reduced to 48 under U.S.S.G. § 5G1.1(a)). District courts are free to conclude that

the ratio reflected in the crack guideline produces a sentence that is greater than necessary,

even in a mine-run case, see Spears v. United States, 129 S. Ct. 840 (2009); Kimbrough v.

United States, 128 S. Ct. 558 (2007), and I found the enhanced range greater than necessary

in this case.

          In addition to the general problem with the crack guideline, I noted that this case did not

appear to present any of the circumstances that originally motivated Congress to impose

                                                   4


     Case 2:08-cr-00172-LA          Filed 09/22/09     Page 4 of 8    Document 568
harsher penalties for crack – no violence, weapon possession or other harmful secondary

effects on the community associated with the crime. See United States v. Willis, 479 F. Supp.

2d 927, 934-36 (E.D. Wis. 2007). The circumstances of this case, and defendant’s prior drug

case, which as indicated involved less than 1 gram of crack, suggested that he was a very low

level street dealer. See United States v. Jackson, 537 F. Supp. 2d 990, 993 (E.D. Wis. 2008).

       I also noted that defendant’s role in the offense of conviction was essentially to middle

a deal for another person, for which he received $50. The guidelines rely heavily on weight in

drug cases, to the exclusion of perhaps more important considerations such as the defendant’s

role in the operation. See United States v. Thomas, 595 F. Supp. 2d 949, 952 (E.D. Wis.

2009). As defendant also noted, despite the fact that the government captured dozens of calls

on the wiretap, only four pertained to drugs. The record in this case indicated that defendant

and the principal in the conspiracy had been friends for many years, and defendant knew he

could contact him to obtain drugs.

       Defendant’s second primary argument was that his criminal history category overstated

the severity of his record. See U.S.S.G. § 4A1.3(b). As discussed above, defendant had a

fairly significant prior drug-related record. However, I noted that the distribution case from 2006

involved less than 1 gram of crack and profits of less than $100, but nevertheless resulted in

a total of 6 criminal history points – 3 for the original sentence, 2 points because he was on

supervision when he committed this offense, and 1 point because he committed this offense

less than 2 years after his release. I concluded that 6 points was more than this relatively

minor offense could support.

       Defendant argued that his 2003 felony possession case, which scored 2 points, also

overstated his record, but I did not agree with that. He had two other possession cases, which

                                                5


    Case 2:08-cr-00172-LA        Filed 09/22/09     Page 5 of 8     Document 568
did not score, and I could not conclude that the state’s decision to make this case a felony

under a recidivist statute resulted in an overstatement.

       Overall, though, defendant’s record was indicative of someone with a drug problem, who

dealt small amounts in addition to using. With treatment and monitoring, his risk of re-offending

would decrease. It was also true, as defendant pointed out, that he lacked a history of violence

or weapon possession. See, e.g., United States v. Moore, No. 06-CR-117, 2007 WL 1728667,

at *3 (E.D. Wis. June 13, 2007) (collecting cases granting guideline departures or variances

under similar circumstances).

       Defendant further noted his expression of remorse and provision of a full statement on

his arrest. Although these factors were in large part accounted for in the U.S.S.G. § 3E1.1

reduction, I also considered them under 18 U.S.C. § 3553(a). See United States v. Knox, 573

F.3d 441, 453 (7th Cir. 2009). I also took into account defendant’s work record and family

situation.

       Finally, I considered the fact that defendant’s state supervision had been revoked and

a 1 year sentence imposed by the state court, based on the same conduct that was before me.

While the guidelines recommend a consecutive term when the undischarged sentence is based

on a revocation, see U.S.S.G. § 5G1.3 cmt. n.3(C), the Seventh Circuit has acknowledged that

a concurrent term is reasonable when the revocation is based on the instant offense conduct,

see United States v. Huusko, 275 F.3d 600, 603 (7th Cir. 2001).               The government

recommended a concurrent term in this case, which seemed appropriate under the

circumstances.

       Were it not for the state revocation sentence, I likely would have imposed a prison

sentence of 12-15 months in this case, which would generally be consistent with the guideline

                                               6


     Case 2:08-cr-00172-LA      Filed 09/22/09     Page 6 of 8    Document 568
range for powder cocaine and taking into account the other factors discussed above. However,

I also had to consider defendant’s correctional treatment needs. Because the instant offense

was a class E felony, I was limited to 1 year of supervised release after imprisonment. See 18

U.S.C. § 3583(b)(3). With a probationary sentence, however, I was authorized to order

supervision for up to 5 years. See 18 U.S.C. § 3561(c). Whatever I did in this case, defendant

was going to serve 1 year of imprisonment based on the conduct before me. Therefore, I could

have imposed a duplicate year or year and a half, followed by 1 year of supervision; or up to

5 years probation, which would commence after defendant’s release from state prison. See

18 U.S.C. § 3564(b) (providing that a term of probation does not run while the defendant is

imprisoned). The latter sentence allowed me to better address defendant’s treatment needs,

ensure that he stayed on the right track, and provide monitoring to ensure that he did not slip

back into drugs, for a much longer period, without depreciating the punitive effect. I found this

the better option. In order to ensure necessary punishment and structure, I ordered a period

of home confinement as a condition of probation.             This sentence was, under the

circumstances, sufficient to satisfy all of the purposes of sentencing under 18 U.S.C. §

3553(a)(2).

                                      III. CONCLUSION

       Therefore, I placed defendant on probation for a period of 5 years. Based on his

financial situation, I determined that defendant lacked the ability to pay a fine and so ordered

community service under 18 U.S.C. §§ 3563(a)(2) & (b)(12) in lieu of the fine. As conditions

of supervision, I required defendant to participate in drug testing and treatment; perform 20

hours of community service work per year, for a total of 100 hours; and comply with the

conditions of home confinement for a period not to exceed 180 consecutive days. Other terms

                                               7


    Case 2:08-cr-00172-LA       Filed 09/22/09     Page 7 of 8    Document 568
and conditions of the sentence appear in the judgment.

      Dated at Milwaukee, Wisconsin, this 18th day of September, 2009.

                                       /s Lynn Adelman
                                       ________________________________________
                                       LYNN ADELMAN
                                       District Judge




                                            8


    Case 2:08-cr-00172-LA     Filed 09/22/09    Page 8 of 8   Document 568
